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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :      CRIMINAL NO. 21-003 (RCL)
               v.                             :
                                              :
JACOB ANTHONY CHANSLEY,                       :
                                              :
                       Defendant.             :

                    PROTECTIVE ORDER GOVERNING DISCOVERY

       To expedite the flow of discovery material between the parties and adequately protect

personal identity information entitled to be kept confidential, the integrity of the government’s

investigation, and the security of witnesses, it is, pursuant to the Court’s authority under Fed. R.

Crim. P. 16(d)(1) and with the consent of the parties, ORDERED:

       1.      Materials Subject to this Order. All materials disclosed by the government at

any stage of discovery in this case pursuant to Federal Rules of Criminal Procedure 16 and 26.2,

18 U.S.C. § 3500 (the Jencks Act), and the government’s general obligation to produce exculpatory

and impeachment information in criminal cases (the “discovery materials”) are subject to this

protective order (“Order”).

       2.      Defendant. Any reference to “Defendant” herein refers individually to each

defendant identified in the caption above.

       3.      Legal Defense Team. The “legal defense team” includes defense counsel (defined

as counsel of record in this case, including any post-conviction or appellate counsel) and any

attorneys, investigators, paralegals, support staff, and expert witnesses who are advising or

assisting defense counsel in connection with this case. The legal defense team shall not include

Defendant or Defendant’s family members, friends, or associates.
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       4.      Limitations on Dissemination to Defendant. The legal defense team may review

with Defendant all discovery material produced by the government, and may provide Defendant

with copies of discovery pursuant to this Order, but shall not provide Defendant with copies of, or

unsupervised access to, any discovery material produced by the government which constitute or

contain unredacted:

            a. Records obtained from digital device downloads, and searches of electronic
               communications (e.g., email and social media), of individuals other than
               Defendant;

            b. Records of personal identifying information of individuals other than Defendant,
               including another individual’s date of birth, social security number, address,
               telephone number, email address, driver’s license number, professional license
               number, or family members’ names, as well as contact information for,
               photographs of, and private conversations with family members and associates
               not related to the criminal conduct in this case, which such individuals may
               reasonably wish to protect from unnecessary dissemination (“Personal
               Information”);

            c. Financial information of individuals other than Defendant, or entities controlled
               by Defendant, including bank account numbers, credit or debit card numbers,
               account passwords, contact information, or taxpayer identification numbers
               (“Financial Information”);

            d. Information regarding the government’s confidential source(s) or source(s) of
               information, including criminal histories, arrest records and summaries of
               information provided to the government (“Confidential Source Information”);

            e. Sealed documents, to include search warrant applications and their contents
               (affidavits, orders) and other court-ordered authorizations (e.g., pen registers,
               geolocation orders, tracking orders) (“Sealed Information”), that contain Personal
               Information, Financial Information, or Confidential Source Information;

            f. Tips and law enforcement reports and/or notes, including reports of interviews of
               individuals other than defendant, which may contain Personal Information;

            g. Grand jury transcripts and exhibits;

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            h. Surveillance footage from the U.S. Capitol and Grounds;

            i. Body-worn camera videos from the Metropolitan Police Department, Arlington
               County Police Department, or any other law enforcement agencies; and

            j. Investigative information not yet publicly known, the dissemination of which
               could jeopardize the government’s on-going investigations or the security of its
               witnesses, and which is designated by the government as “Sensitive”.


Discovery material that clearly pertains to Defendant and does not contain information listed in

(a) through (j) above may be provided to Defendant unredacted (e.g., defendant’s own bank

records, phone records, digital device downloads, social media records, prisoner records and

business records). The government and the defense will work together to ensure that the

materials identified in (a) through (j) above are protected and that Defendant has unfettered

access to as much material as can be provided consistent with this Order.

       5.      Limitations on Dissemination to Third Parties. Neither the legal defense team

nor Defendant shall provide any discovery material produced by the government to any person

not a party to this case, nor make any public disclosure (including disclosure to the media) of the

same, without the government’s express written permission, except that defense counsel may

provide discovery materials to those persons employed, retained, or otherwise consulted by

defense counsel who are necessary to assist counsel of record in preparation for trial or other

proceedings (including third party vendors), and may authorize viewing of discovery materials

by prospective witnesses for purposes of defending this action. The government may authorize,

in writing, disclosure of discovery materials beyond that otherwise permitted by this Order

without further order of this Court.

       6.      Limitations on Use. Defendant and the legal defense team may use the discovery


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materials solely in connection with this case, including any post-conviction or appellate

litigation, and for no other purpose, and in connection with no other proceeding.

       7.      Limitations on Reproduction. The legal defense team may physically or

electronically reproduce the discovery materials as deemed necessary by defense counsel for use

in connection with this case. Any reproductions of the discovery materials authorized by defense

counsel shall be treated in the same manner as the original materials.

       8.      Responsibility to Prevent Reproduction During Viewing. If defense counsel

authorizes Defendant or another person to view the discovery materials, the legal defense team

shall ensure that Defendant or such other person does not copy, photograph, take screenshots, or

otherwise reproduce the discovery materials, except as authorized herein.

       9.      Storage Requirements. The legal defense team shall store the discovery

materials in a secure physical or electronic environment that limits access to members of the

legal defense team and, as authorized herein, Defendant. Defense counsel shall be responsible

and accountable for maintaining, securing, and storing the discovery materials, including all

reproductions thereof, and taking all necessary precautions to prevent unauthorized access.

       10.     Viewing by Incarcerated Defendants. If Defendant in the custody of the United

States Marshals Service, defense counsel is authorized to provide a copy of the discovery

materials to the appropriate point of contact so that the defendant can view the discovery

materials.

       11.     Notifications Regarding this Order. Defense counsel must provide members of

the legal defense team, Defendant, and any other person, with a copy of this Order before

providing them with access to, or permitting them to view the discovery materials.

       12.     Disposition Following the Conclusion of this Criminal Case. Following a



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dismissal or acquittal in this case, defense counsel shall destroy or return to the United States the

discovery materials. Following a conviction in this case, defense counsel may retain a copy of

the discovery materials. This Order shall remain in effect after the conclusion of this case and

shall continue to govern the dissemination, use, reproduction, storage, and retention of the

discovery materials disclosed in this case.

       13.     Automatic Exclusions from this Order. This Order does not apply to discovery

materials that are, or later become, part of the public record, including materials that have been

received in evidence in this or other public trials or hearings, or materials that are publicly

released by the U.S. Attorney’s Office, the Department of Justice, or the U.S. Capitol Police,

except that any video designated as “security information” under 2 U.S.C. §1979 may never be

provided to Defendant, regardless of publication.

       14.     Scope of this Order. This Order does not prevent any party from objecting to

the discovery or admission of the discovery materials that it otherwise believes to be improper.

This Order also does not constitute a ruling on: (A) any potential objection to the discoverability

or admissibility of the discovery materials; or (B) whether any particular discovery materials are

properly discoverable or admissible. This Order is not intended to limit the use of the discovery

materials in any judicial proceedings in this case. All court filings shall comply with the privacy

protection provisions of Fed. R. Crim. P. 49.1.

       15.     Modification of this Order. Consent to this Order does not constitute a waiver

or otherwise prevent any party from seeking modification of this Order, even after the conclusion

of district court proceedings in this case.




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SO ORDERED this _____ day of __________, 2021.



                               _____________________________________
                               HONORABLE ROYCE C. LAMBERTH
                               United States District Judge




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